AO 442 (Rev. 11/11) Arrest Warrant



                                           United States District Court
                                                                   for the

                                                          District of Massachusetts


                      United States of America
                                  V.

                          XIAONING SUl                                       Case No.




                               Defendant


                                                       ARREST WARRANT                      SEALED
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and hring before a United States magistrate judge without urmecessary delay
(name ofperson to be arrested)         XIAONING SUl                                                                                        j
who is accused of an offense or violation based on the following document filed with the court:

      Indictment           •    Superseding Indictment      • Information       •     Superseding Information           • Complaint
•     Probation Violation Petition           • Supervised Release Violation Petition        • Violation Notice          • Order of the Court

This offense is briefly described as follows:


    Conspiracy to Commit Wire Fraud and Honest Services Wire Fraud (18 U.S.C. § 1349)




Date:          03/05/2019
                                                                                         h'j' i^ssuiiigpf^cer 's sigfi^ur^'OX

City and state:          Boston, MA                                                   M. ftagV^elley^US Mapistrafe'";i^dge
                                                                                          V; 'fPrinted.nam'e and'iitlf/ /
                                                                                                                   'UV

                                                                  Return                                     -

          This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)


Date:
                                                                                            Arresting officer's signature



                                                                                               Printed name and title
